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                         EXHIBIT L
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )



                       DECLARATION OF LAURA DOE

      I, Laura Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I have worked for the Bureau for Humanitarian Assistance (BHA)

within USAID on various contracts for the past five years, first as an ISC and more

recently as a PSC.

      3.     My work focuses on emergency food assistance, nutrition, water and

sanitation and hygiene, shelter, and protection programs in                       . The

grants I manage range from immediate assistance in the aftermath of immediate

natural disasters such as cyclones and flooding in the region to food insecurity

triggered by slow onset disasters, such as drought. In addition, many of the programs

I manage aim to assist vulnerable populations impacted by armed conflict that
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include Internally Displaced Peoples (IDPs) living in temporary camps or hosted by

communities. Some examples of the programs I manage include the provision of

specialized nutrition products to severely malnourished children who need regular

and timely treatment to prevent death. Other programs include the provision of Non-

Food Items in the aftermath of a cyclone, such as chlorine tablets to purify

contaminated water sources and plastic sheeting to strengthen ravaged homes and

temporary shelters. These programs often mean life or death to vulnerable

populations impacted by food insecurity and climatic shocks.

      4.     Over the last two weeks, my colleagues and I have not received any clear

communication about the status of our jobs, or the programs we support. For example,

while it was announced that most USAID funding would be frozen, a waiver is

supposed to be available for life-saving humanitarian assistance, which would apply

to the more than 30 emergency food assistance programs I support. Without my

knowledge, the partners I manage, nearly all of which work on lifesaving, emergency

food assistance, were sent email notices from their Agreement Officers directing them

to fully or partially stop their work. As an Agreement Officer Representative for these

awards, I am required to be copied on any communications, which never happened.

While I tried to obtain a waiver for the programs I manage, there was no guidance on

the process by which our patterns could obtain a waiver and none of the programs

were ever formally approved to keep running. I am skeptical that the waiver actually

exists. At this point, if a waiver does in fact exist, the implementation has been so

chaotic with so many employees either furloughed or on administrative leave that as



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a practical matter it isn’t available to those who need it. While the programs I manage

are under a stop work order, food commodities sit in warehouses rotting and

scheduled food distributions to vulnerable populations do not happen and children

miss follow-up appointments for treatment of severe malnutrition. Much needed

shelter and water and sanitation and hygiene items targeted for populations that

were impacted by a recent cyclone remain stuck in transit as transportation contracts

were also directed to stop moving forward. Vulnerable populations have lost access to

lifesaving assistance.

      5.     I have never been treated so poorly in my entire life as I have been over

the past two and a half weeks, from the threatening emails sent on nearly a daily

basis to our entire staff to the utter disrespect for our work. Mass emails were sent

regarding the decision to put senior staff on Admin Leave and threats to do the same

to us if we were seen not to comply with the many executive orders issued by

President Trump. We were directed to email a newly created USAID email if we knew

of any additional staff attempting to circumvent these new executive orders and that

failure to do so would result in disciplinary action.

      6.     Our pay for the week prior to our lockout and the week of our lockout is

uncertain and I don’t know if or when I’ll be paid as I have no ability to finalize my

timesheet. In addition to the financial harm associated with this situation, I’m also

suffering ongoing emotional harm because the humanitarian work I care about deeply

is being treated with contempt at the highest levels of my government. President

Trump and Elon Musk have used social media to attack our organization and



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dehumanize those within it, calling us criminals. It makes me feel like the work we

do to reduce human suffering has no value.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 7, 2025.



                                               /s/ Laura Doe
                                              Laura Doe




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